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  May 30, 2017


  VIA ECF
  Hon. William J. Zloch
  U.S.D.J.
  US Federal Bldg & Courthouse
  299 East Broward Blvd.
  Room 202B
  Fort Lauderdale, FL 33301


  RE:    Notice of Settlement of Irina Muskina v. NCS Plus, Inc.
         Case No. 16-62434-CIV-ZLOCH

  Your Honor:

          We represent Plaintiff in the above referenced action. We are pleased to report that the
  parties have reached an agreement to settle this case.

         Please enter a ninety day Order allowing for the parties to finalize settlement agreements
  and payments.


                                                              Respectfully submitted,

                                                              /s/Michael Jay Ringelheim
                                                              Michael Jay Ringelheim, Esq.

  Cc: VIA ECF: Ashley N. Rector, attorney for Defendant, arector@sessions.legal
